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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                                ALBANY DIVISION


Jerroma Williams,                            Case No.:

                Plaintiff,

      vs.                                    COMPLAINT

Collection & Billing Services, Inc. d/b/a
Credit Bureau of Southwest Georgia,          JURY TRIAL DEMAND
a domestic profit corporation,

                Defendant.



      NOW COMES THE PLAINTIFF, JERROMA WILLIAMS, BY AND

THROUGH COUNSEL, Matthew Landreau, and for his Complaint against the

Defendant, pleads as follows:

                                 JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.


                                      VENUE

   2. The transactions and occurrences which give rise to this action occurred in

      the City of Albany, Dougherty County, Georgia.

   3. Venue is proper in the Middle District of Georgia, Albany Division.
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                                  PARTIES

4. Plaintiff is a natural person residing in City of Albany, Dougherty County,

   Georgia.

5. The Defendant to this lawsuit is Collection & Billing Services, Inc. d/b/a

   Credit Bureau of Southwest Georgia, which is a domestic profit corporation

   that conducts business in the State of Georgia.

                       GENERAL ALLEGATIONS

6. Defendant is attempting to collect two consumer type debts allegedly owed

   by Plaintiff to Phoebe Physician Group Inc. The first debt is in the amount of

   $59.00 and the second debt is in the amount of $50.00 (the “alleged Debts”).

7. Plaintiff disputes the alleged Debts.

8. On March 20, 2020, Plaintiff obtained his Equifax credit disclosure and

   noticed Defendant reporting the alleged Debts.

9. On or about April 20, 2020, Plaintiff sent Defendant a letter disputing the

   alleged Debts.

10.On June 15, 2020, Plaintiff obtained his Equifax credit disclosure and

   noticed Defendant last reported the tradeline reflected by the alleged Debts

   to May 3, 2020 and failed or refused to flag its trade line as disputed, in

   violation of the FDCPA.
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11.In the credit reporting industry, data furnishers, such as the Defendant,

   communicate electronically with the credit bureaus.

12.Defendant had more than ample time to instruct Experian, Equifax, and

   Trans Union to flag its trade line as Disputed.

13.Defendant’s inaction to have its trade line on Plaintiff’s credit report flagged

   as disputed was either negligent or willful.

14.Plaintiff suffered pecuniary and emotional damages as a result of

   Defendant’s actions. His credit report continues to be damaged due to the

   Defendant’s failure to properly report the associated trade line.



VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

15.Plaintiff reincorporates the preceding allegations by reference.

16.At all relevant times, Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

17.Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

   issue in this case is a consumer debt.

18.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6).
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   19.Defendant's foregoing acts in attempting to collect this alleged debt violated

      15 U.S.C. §1692e(8) of the FDCPA by communicating to any person credit

      information, which is known to be false or should be known to be false,

      including failure to report a disputed debt as disputed.

   20.To date, and a direct and proximate cause of the Defendant’s failure to honor

      its statutory obligations under the FDCPA, the Plaintiff has continued to

      suffer from a degraded credit report and credit score.

   21.Plaintiff has suffered economic, emotional, general, and statutory damages

      as a result of these violations of the FDCPA.

      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against Defendant for actual damages, costs, interest, and attorneys’ fees.

                     DEMAND FOR JUDGMENT RELIEF

   Accordingly, Plaintiff requests that the Court grant him the following relief

against the Defendant:

   a. Actual damages;

   b. Statutory damages;

   c. Statutory costs and attorneys’ fees.

                                 JURY DEMAND

      Plaintiff hereby demands a trial by Jury.

DATED: August 24, 2020
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                                By: /s/ Matthew Landreau
                                Matthew Landreau
                                Bar Number 301329
                                22142 West Nine Mile Road
                                Southfield, MI 48033
                                Telephone: (248) 353-2882
                                Facsimile: (248) 353-4840
                                E-Mail: matt@crlam.com
                                Attorneys for Plaintiff,
                                Jerroma Williams
